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                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA

        UNITED STATES OF AMERICA                                CASE NUMBER 17-cr-01337-JLS

                           vs                                   ABSTRACT OF ORDER

                                                               Booking No. 61707298
        Ranae Norma Woodard

TO THE UNITED STATES MARSHAL AND / OR WARDEN, METROPOLITAN CORRECTIONAL CENTER:
              Be advised that under date of   5/2/2024
 the Court entered the following order:

                       Defendant be releaseG from custody.

                       Defendant placed on supervised / unsupervised probation / supervised release.

                       Defendant continued on supervised / unsupervised probation / supervised release.

         X                                           $5,000 P/S                                  Bond posted.
                       Defendant released on
                       Defendant appeared in Court. FINGERPRINT & RELEASE.

                       Defendant remanded and (                bond ) (             bond on appeal ) exonerated.

                       Defendant sentenced to TIME SERVED, supervised release for                     years.

                       Bench Warrant Recalled.

                       Defendant forfeited collateral.

                       Case dismissed.

                       Case dismissed, charges pending in case no.

                       Defendant to be release to Pretrial Services for electronic monitoring.

          X            Other. Defendant not in USM custody. Defendant released in Central District of California
                              on 4/19/2024


                                                                    ALLISON H. GODDARD
                                                              UNITED STATES DISTRICT/MAGISTRATE JUDGE
                                                                                        OR
                                                              JOHN MORRILL, Clerk of Court
                                                              by T. Lee x. 7749



Crim-9 (Rev. )
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Trina Lee

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